Case 2:19-bk-14989-WB              Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                              Desc
                                    Main Document    Page 1 of 13



  1 John B. Quinn (Bar No. 90378)
    johnquinn@quinnemanuel.com
  2 Crystal Nix-Hines (Bar No. 326971)
    crystalnixhines@quinnemanuel.com
  3 Eric Winston (Bar No. 202407)
    ericwinston@quinnemanuel.com
  4 Jennifer L. Nassiri (Bar No. 209796)
    jennifernassiri@quinnemanuel.com
  5 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    865 S. Figueroa St., 10th Floor
  6 Los Angeles, CA 90017
    Telephone: (213) 443-3000
  7 Facsimile: (213) 443-3100

  8 Attorneys for Secured Creditor,
    HILLAIR CAPITAL MANAGEMENT, LLC
  9

 10                                   UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 11
                                                 LOS ANGELES DIVISION
 12
      In re                                                          CASE NO. 2:19-bk-14989-WB
 13                                                                  Jointly Administered:
      SCOOBEEZ, et al.1                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
 14                                                                  Chapter 11
               Debtors and Debtors in Possession.
 15                                                                  HILLAIR CAPITAL MANAGEMENT’S
      Affects:                                                       (I) REQUEST TO SCHEDULE
 16                                                                  EVIDENTIARY HEARING AND (II)
           All Debtors                                              EVIDENTIARY OBJECTIONS TO
 17                                                                  DECLARATIONS IN SUPPORT OF
           Scoobeez, ONLY                                           AMAZON’S MOTION FOR AN ORDER:
 18                                                                  (A) DETERMINING THAT THE
           Scoobeez Global, Inc., ONLY                              AUTOMATIC STAY DOES NOT
 19                                                                  REQUIRE AMAZON TO UTILIZE
           Scoobur, LLC, ONLY                                       DEBTORS’ SERVICES, AND (B)
 20                                                                  MODIFYING THE AUTOMATIC STAY
 21                                                                  Date:       March 16, 2020
                                                                     Time:       10:00 am
 22                                                                  Dept.:      1375
                                                                                 United States Bankruptcy Court
 23                                                                              255 E. Temple Street
                                                                                 Los Angeles, CA 90012
 24
                                                                     The Hon. Julia Brand
 25

 26
          1
              The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
 27 Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
      Boulevard, Glendale, California 91214.
 28

                                                                                    Case No. 2:19-bk-14989-WB
                                                     HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB            Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                           Desc
                                  Main Document    Page 2 of 13



  1           Pursuant to the provisions of Local Rule 9013-1(i)(1) and (2), Hillair Capital Management,

  2 LLC (“Hillair”), the Debtors’ senior secured creditor, respectfully:

  3                •   Requests this Court schedule a further hearing on the Motion for an Order: (A)
  4                    Determining that the Stay Does not Require Amazon to Utilize Debtor’s Services

  5                    and (B) Modifying the Automatic Stay (the “Stay Relief Motion”) [Dkt. No. 393] to
  6                    permit cross-examination of witnesses to the extent the Stay Relief Motion is not

  7                    denied on or after the March 16, 2020 hearing;2 and

  8                •   Submits the following evidentiary objections to the declarations submitted by
  9                    Amazon Logistics, Inc. (“Amazon”) in support of the Stay Relief Motion;

 10                    Amazon’s Reply in support of its Stay Relief Motion (the “Stay Relief Reply”)
 11                    [Dkt. No. 430], and Amazon’s Supplemental Brief in support of its Stay Relief
 12                    Motion (the “Stay Relief Supplemental Brief”) [Dkt. No. 605].3
 13 I.        REQUEST FOR FURTHER HEARING TO PERMIT CROSS-EXAMINATION OF
 14           WITNESSES IF THE AUTOMATIC STAY MOTION IS NOT DENIED
 15           As indicated in Hillair’s supplemental brief filed on February 19, 2020, to the extent that
 16 this Court concludes that the Stay Relief Motion should not be denied based on the legal

 17 arguments and documentary evidence submitted, Hillair requests the opportunity to cross-examine

 18 the witnesses who submitted declarations in support of the Stay Relief Motion. For avoidance of

 19 doubt, Hillair believes that, based on the legal arguments and documentary evidence presented,

 20 Amazon has failed to sustain its initial burden of showing any harm by imposition of the

 21 automatic stay, and even if it had sustained its burden, the balance of harms clearly favors denial

 22 of the Stay Relief Motion. However, if the Court concludes otherwise, Hillair believes that cross-

 23 examination will conclusively show that Amazon’s motion should be denied. The ability to cross-

 24
          2
 25         Currently scheduled to be heard on March 16 is the Debtors’ motion for a preliminary injunction in Adversary
      Proceeding Case No. 19-01456-WB [Dkt No. 2]. To the extent the Court schedules an evidentiary hearing on
 26   Amazon’s Stay Relief Motion, it would be efficient to schedule a concurrent evidentiary hearing on the Debtors’
      motion in the Adversary Proceeding.
 27       3
            Amazon’s counsel and Hillair’s counsel agreed to file written evidentiary objections one week prior to the
      March 16, 2020 hearing.
 28
                                                            -1-                  Case No. 2:19-bk-14989-WB
                                                  HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB        Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                  Desc
                              Main Document    Page 3 of 13



  1 examine witnesses is particularly necessary in light of the factual assertions contained in

  2 Amazon’s supplemental brief, which are inconsistent with the facts obtained through discovery.

  3          Local Rule 9013-1(i)(1) provides that “[t]he court may, at its discretion, in addition to or in

  4 lieu of declaratory evidence, require or allow oral examination of any declarant or any other

  5 witness in accordance with FRBP 9017. When the court intends to take such testimony, it will

  6 give the parties 2 days’ notice of its intention, if possible, or may grant such a continuance as it

  7 may deem appropriate.” Local Rule 9013-1(i)(5) further provides that “[i]f the court decides to

  8 hear oral testimony, the matter may be continued to another date for final hearing.” Accordingly,

  9 to the extent that the Court does not deny the Stay Relief Motion outright during or after the

 10 March 16 hearing, Hillair requests that this Court schedule a further hearing to permit cross-

 11 examination of witnesses.

 12 II.      OBJECTIONS TO THE DECLARATION OF VANESSA DELANEY, DATED
 13          SEPTEMBER 30, 2019
 14          Hillair hereby submits the following evidentiary objections to the Declaration of Vanessa
 15 Delaney, attached to a request to take judicial notice filed in support of the Stay Relief Motion

 16 (“Delaney Declaration”) [Dkt. No. 349].

 17          Amazon requested judicial notice of the Delaney Declaration, which was the only evidence
 18 Amazon offered in support of its Stay Relief Motion. However, this Court cannot take judicial

 19 notice of a declaration for the purposes of the contents of that declaration, which means the

 20 Delaney Declaration is not admissible evidence. See, e.g. Fed. R. Evid. 201(b) (only facts not

 21 subject to reasonable dispute may be judicially noticed); In re Sinclair, 563 B.R. 554, 573 (Bankr.

 22 E.D. Cal. 2017) (a court could only take judicial notice of the existence of matters of public record

 23 not the veracity of the arguments and disputed facts contained therein).

 24          Further, several statements contained in the Delaney Declaration are inadmissible, as set

 25 forth below:

 26

 27

 28
                                                      -2-                  Case No. 2:19-bk-14989-WB
                                            HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB        Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08               Desc
                              Main Document    Page 4 of 13



  1
                     Asserted Evidence                                       Objection
  2
      ¶ 5. “To date, Scoobeez has not provided           Irrelevant (Fed. R. Evid. 402). Evidence
  3   Amazon or Amazon.com, Inc. with a defense          regarding Amazon’s asserted litigation costs on
      in the foregoing litigation or indemnified them    account of prepetition claims, indemnified or
  4   with respect to the plaintiffs’ claims. To date,   not, has no relevance because upon
      Amazon and Amazon.com, Inc. have incurred          commencing these chapter 11 cases, Scoobeez
  5   defense costs in connection with the foregoing     could not pay any prepetition claims absent
  6   litigation and have not been reimbursed by         order of this Court. No order authorizing such
      Scoobeez for those costs.”                         payment has been sought or obtained.
  7
                                                         Further, Amazon’s own witnesses have
  8                                                      conceded that the presence or absence of
                                                         indemnification had nothing to do with
  9                                                      Amazon’s decision to terminate its contract
 10                                                      with Scoobeez. Dkt. 609 at 8-9. Accordingly,
                                                         any assertions regarding prepetition
 11                                                      indemnification claims should be excluded as
                                                         irrelevant. Moreover, Amazon later submitted
 12                                                      evidence confirming Amazon had no interest in
                                                         receiving indemnification for these costs. See
 13                                                      Declaration of James Wilson, filed in support of
 14                                                      Amazon’s TRO Opposition (“10/28/19 Wilson
                                                         Declaration”), at ¶ 8 [Adv. Dkt. No. 10].
 15

 16 III.    CONDITIONAL OBJECTIONS TO THE DECLARATION OF JAMES WILSON,
 17         DATED OCTOBER 28, 2019
 18         Although the only evidence Amazon submitted in support of the Stay Relief Motion was

 19 the Judicial Notice Request, Amazon also submitted the 10/28/19 Wilson Declaration. To the

 20 extent that Amazon intends to rely upon the 10/28/19 Wilson Declaration in support of the Stay

 21 Relief Motion, Hillair hereby submits the following evidentiary objections:

 22

 23

 24

 25

 26

 27

 28
                                                     -3-                  Case No. 2:19-bk-14989-WB
                                           HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB       Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                 Desc
                             Main Document    Page 5 of 13



  1

  2                   Asserted Evidence                                    Objection
  3   ¶ 8. “In fact, had Amazon Logistics been          Lack of Foundation/Personal Knowledge (Fed.
      concerned with collecting the pre-petition        R. Evid. 602). To the extent Mr. Wilson
  4   amounts owed to it, it would have consented to    purports to opine on the existence or nature of
      the assumption and assignment of the              any “pre-petition amounts owed,” or the legal
  5   Contract, which would have required the           effect of any “consent[] to the assumption and
      payment in full of those obligations.”            assignment of the Contract,” his testimony
  6
                                                        lacks foundation and is improper lay opinion. It
  7                                                     is an incomplete hypothetical (Amazon opposed
                                                        assumption and had already determined to
  8                                                     terminate the Amazon Contract, which was not
                                                        disclosed). Mr. Wilson also fails to lay
  9                                                     foundation for his purported knowledge of
                                                        decisions or actions Amazon could or would
 10
                                                        have taken.
 11
      ¶ 10. “In Amazon’s experience, drivers are        Irrelevant (Fed. R. Evid. 402). Mr. Wilson’s
 12   more likely to remain employed with a             assessment of the likelihood of drivers’
      departing DSP and find new employment with        continued employment lacks relevance and is
 13   another DSP (and therefore lose less wages        unduly prejudicial, especially when not
 14   overall) if the foregoing information is          supported by any other facts.
      communicated at the same time as the drivers
 15   learn the DSP/Amazon relationship is ending.”     Lack of Foundation/Personal Knowledge (Fed.
                                                        R. Evid. 602). Mr. Wilson fails to provide
 16                                                     sufficient evidence establishing his familiarity
                                                        with or knowledge of the likelihood of drivers’
 17                                                     continued employment.
 18
      ¶ 10. “The drivers also appreciate being ‘kept    Irrelevant (Fed. R. Evid. 402). Mr. Wilson’s
 19   in the loop’ and being able to connect with       subjective assessment of the drivers’ alleged
      other potential employers (e.g., other DSPs) to   responses is irrelevant and prejudicial,
 20   plan for the future.”                             especially when not supported by any other
                                                        facts.
 21

 22                                                     Lack of Foundation/Personal Knowledge (Fed.
                                                        R. Evid. 602). Mr. Wilson fails to provide
 23                                                     sufficient foundation establishing his familiarity
                                                        with or knowledge of the drivers’ collective
 24                                                     feelings.
 25
                                                        Inadmissible Hearsay (Fed. R. Evid. 801, 802,
 26                                                     803). To the extent Mr. Wilson offers a
                                                        summary of out-of-court statements made by
 27                                                     drivers for their truth, this constitutes
                                                        inadmissible hearsay.
 28
                                                    -4-                  Case No. 2:19-bk-14989-WB
                                          HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB       Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                Desc
                             Main Document    Page 6 of 13



  1

  2 IV.     CONDITIONAL OBJECTIONS TO THE DECLARATION OF RICHARD W.
  3         ESTERKIN, DATED OCTOBER 28, 2019
  4         Amazon submitted the Declaration of Richard W. Esterkin in support of Amazon’s TRO

  5 Opposition (“Esterkin Declaration”) [Adv.Dkt. No. 10]. To the extent that Amazon intends to rely

  6 upon the Esterkin Declaration in support of the Stay Relief Motion, Hillair hereby submits the

  7 following evidentiary objections

  8                  Asserted Evidence                                     Objection
  9   ¶ 2. “I believe that, because Scoobeez, Inc.     The purpose of a declaration is to submit
      (‘Scoobeez’) does not have a property interest   evidence; it is improper to use a declaration to
 10   under its contract with Amazon Logistics to be   present legal arguments from an attorney. See,
      assigned any particular number of routes, or     e.g., Silver v. Executive Car Leasing Long-Term
 11   any routes at all, Amazon Logistics is not       Disability Plan, 466 F.3d 727, 731 n.2 (9th Cir.
      precluded from altering the number of routes     2006) (affirming district court’s exclusion of a
 12
      assigned to Scoobeez by the automatic stay.”     declaration from plaintiff’s counsel because it
 13                                                    “contains legal argument that was not
                                                       appropriate for a declaration, as well as analysis
 14                                                    of complex [facts] as to which [plaintiff’s]
                                                       attorney would not have been competent to
 15                                                    testify”).
 16
                                                       Irrelevant (Fed. R. Evid. 402). Mr. Esterkin’s
 17                                                    subjective beliefs about the contract with
                                                       Amazon Logistics are not relevant. Shaw v.
 18                                                    Regents of Univ. of Cal., 58 Cal. App. 4th 44,
                                                       54–55 (1997).
 19
                                                       Inadmissible Legal Conclusions/Opinions (Fed.
 20
                                                       R. Evid. 701; see Plush Lounge Las Vegas LLC
 21                                                    v. Hotspur Resorts Nev. Inc., 371 F. App’x 719,
                                                       720-21 (9th Cir. 2010) (district court did not
 22                                                    abuse its discretion by striking large portions of
                                                       declarations because “[t]he declarations
 23                                                    presented legal conclusions without underlying
 24                                                    factual support, and therefore constitute
                                                       ‘unsupported speculation,’” such that district
 25                                                    court reasonably determined “that the
                                                       declarations fell short of the reliability and
 26                                                    relevancy requirements for the admissibility of
                                                       expert testimony”).
 27

 28
                                                    -5-                  Case No. 2:19-bk-14989-WB
                                          HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB         Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                    Desc
                               Main Document    Page 7 of 13



  1                  Asserted Evidence                                        Objection
  2                                                        Lack of Foundation/Personal Knowledge (Fed.
                                                           R. Evid. 602). To the extent Mr. Esterkin
  3                                                        purports to opine on the legal effect of the
                                                           contract with Amazon Logistics or its terms, his
  4                                                        testimony lacks foundation and is improper lay
                                                           opinion.
  5

  6                                                        Inadmissible Hearsay (Fed. R. Evid. 801, 802,
                                                           803). To the extent Mr. Esterkin offers
  7                                                        summaries of out-of-court statements made in
                                                           agreements between the parties for their truth,
  8                                                        this constitutes inadmissible hearsay.
  9
       ¶ 2. “Prior to the filing of the current            Irrelevant (Fed. R. Evid. 402). Whatever
 10    application for a temporary restraining order,      “positions” Mr. Esterkin asserts Scoobeez has
       Scoobeez had not taken the position that a          or has not taken regarding what constitutes a
 11    material reduction by Amazon would violate          violation has no relevance to this Court’s
       the automatic stay.”                                determination.
 12

 13

 14 V.       OBJECTIONS TO THE DECLARATION OF JAMES WILSON, DATED

 15          NOVEMBER 11, 2019

 16          Hillair hereby submits the following evidentiary objections to the Declaration of James

 17 Wilson, filed in support of Amazon’s Stay Relief Reply (“11/11/19 Wilson Declaration”) [Dkt.

 18 No. 430].

 19          As an initial matter, “[i]t is well established that issues cannot be raised for the first time in

 20 a reply brief.” Gadda v. State Bar of Cal., 511 F.3d 933, 937 n. 2 (9th Cir. 2007); see also Zamani

 21 v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007) (“The district court need not consider arguments

 22 raised for the first time in a reply brief.”). This tenet applies with even greater force to evidence

 23 which was available to Amazon all along. Therefore, any evidence offered in support of

 24 Amazon’s Stay Relief Reply by Mr. Wilson, a current Amazon employee who submitted

 25 declarations in support of earlier briefs (or any other witness), should be disregarded.

 26          Further, several statements contained in the 11/11/19 Wilson Declaration are inadmissible,

 27 as set forth below:

 28
                                                       -6-                  Case No. 2:19-bk-14989-WB
                                             HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB        Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                 Desc
                              Main Document    Page 8 of 13



  1                 Asserted Evidence                                        Objection
  2   ¶ 3. “Based upon the number of routes run,         Irrelevant (Fed. R. Evid. 402). Evidence
      during weeks 43 and 44, Scoobeez is in the top     regarding the Scoobeez’s historical routes is
  3   5% of all DSPs utilized by Amazon Logistics.       irrelevant to Amazon’s decision in August 2019
      Indeed, Amazon has increased the average           to terminate the Scoobeez’s contract, and in
  4   number of routes awarded to Scoobeez               September 2019 to treat Scoobeez adversely as
      following the filing of its bankruptcy petition    compared to other DSPs in the applicable
  5
      above the average number of routes awarded         stations through the “peak” holiday period.
  6   to Scoobeez during 2019 in the months before       Dkt. 609 at 3.
      Scoobeez filed its bankruptcy petition.”
  7

  8 VI.     OBJECTIONS TO THE DECLARATION OF MEREDITH RICCIO, DATED
  9         FEBRUARY 18, 2020
 10         Hillair hereby submits the following evidentiary objections to the Declaration of Meredith
 11 Riccio, filed in support of Amazon’s Stay Relief Supplemental Brief (the “Riccio Declaration”)

 12 [Dkt. Nos. 607, 623].

 13
                          Evidence                                          Objection
 14
      ¶ 2. “I am currently in communication with         Inadmissible Hearsay (Fed. R. Evid. 801, 802,
 15   counsel for a Scoobeez driver whose                803). To the extent Ms. Riccio offers
      employment by Scoobeez terminated in               summaries of out-of-court statements made in
 16   October 2019 and who alleges that Scoobeez         pleadings from other cases for their truth, this
      failed to compensate its drivers at the            constitutes inadmissible hearsay.
 17   statutorily-required overtime rate for all hours
 18   worked per week in excess of forty and failed      Best Evidence Rule (Fed. R. Evid.
      to compensate its drivers for all hours worked     1002). To the extent Ms. Riccio testifies about
 19   in excess of eight (8) per day.”                   the contents of pleadings from other cases, this
                                                         violates the best evidence rule. The complaints
 20                                                      speak for themselves.
 21
      ¶ 3. “The above-referenced pending claim           Inadmissible Hearsay (Fed. R. Evid. 801, 802,
 22   alleges ongoing wage and hour violations and       803). To the extent Ms. Riccio offers
      remains unresolved.”                               summaries of out-of-court statements made in
 23                                                      pleadings from other cases for their truth, this
                                                         constitutes inadmissible hearsay.
 24
                                                         Best Evidence Rule (Fed. R. Evid.
 25
                                                         1002). To the extent Ms. Riccio testifies about
 26                                                      the contents of pleadings from other cases, this
                                                         violates the best evidence rule. The complaints
 27                                                      speak for themselves.
 28
                                                      -7-                  Case No. 2:19-bk-14989-WB
                                            HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB            Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                              Desc
                                  Main Document    Page 9 of 13



  1 VII.     OBJECTIONS TO THE DECLARATION OF JAMES WILSON, DATED
  2          FEBRUARY 19, 2020
  3          Hillair hereby submits the following evidentiary objections to the Declaration of James

  4 Wilson, filed in support of Amazon’s Stay Relief Supplemental Brief (“2/19/20 Wilson

  5 Declaration”) [Dkt. No. 605].

  6                      Evidence                                                   Objection
  7   Exhibits C, D, E, and F                                     Each of Exhibits C, D, E, and F are
                                                                  correspondence dated approximately one year
  8                                                               ago, March 2019. Evidence which has been
                                                                  available to Amazon and submitted for the first
  9                                                               time in a supplemental reply should be
                                                                  disregarded.
 10

 11                                                               Irrelevant (Fed. R. Evid. 402). Evidence
                                                                  regarding any purported pre-petition claims for
 12                                                               which no bankruptcy claims have been filed has
                                                                  no relevance.4
 13
                                                                  Inadmissible Hearsay (Fed. R. Evid. 801, 802,
 14
                                                                  803). To the extent Mr. Wilson offers these
 15                                                               Exhibits into evidence for the truth of their
                                                                  contents, it constitutes inadmissible hearsay
 16                                                               because they are out-of-court statements.
 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27
        4
            Each of the entities asserting claims in Exhibits C-F did not file proofs of claim in the Scoobeez cases.
 28
                                                             -8-                  Case No. 2:19-bk-14989-WB
                                                   HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB       Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                 Desc
                            Main Document    Page 10 of 13



  1 VIII. OBJECTIONS TO THE DECLARATION OF TUYET T. NGUYEN, DATED

  2         FEBRUARY 19, 2020
  3         Hillair hereby submits the following evidentiary objections to the Nguyen Declaration filed

  4 in support of Amazon’s Stay Relief Supplemental Brief. [Dkt. No. 606.]

  5
                          Evidence                                          Objection
  6
      ¶ 2. “On February 6, 2020, I attended a           Irrelevant (Fed. R. Evid. 402). Whatever
  7   mediation on behalf of Amazon Logistics in        occurred during the mediation released with
      which it agreed to pay $2,160,000 to satisfy      prejudice any claims against Scoobeez and did
  8   three wage and hour claims: (1) Key v.            not obligate Scoobeez to indemnify Amazon;
      Scoobeez, Inc., et al., San Diego County          otherwise, the mediated settlement would
  9   Superior Court, Case No. 37-2017-00039527;        require this Court’s approval, which has not
 10   (2) Vega v. Scoobeez, Inc., et al., San Diego     been sought. Accordingly, whatever Amazon
      County Superior Court, Case No. 37-2017-          Logistics agreed to pay is irrelevant.
 11   00018285; and (3) Griffin v. Scoobeez, Inc., et
      al., Los Angeles County Superior Court, Case
 12   No. BC707677.
 13   Exhibit A (Memorandum of Understanding)           Irrelevant (Fed. R. Evid. 402).
 14
                                                        Inadmissible Hearsay (Fed. R. Evid. 801, 802,
 15                                                     803). To the extent Mr. Nguyen offers this
                                                        Exhibit into evidence for the truth of its
 16                                                     contents, it constitutes inadmissible hearsay
                                                        because it is an out-of-court statement.
 17

 18

 19 IX.     OBJECTIONS TO THE APPENDIX OF EXHIBITS IN SUPPORT OF AMAZON’S

 20         STAY RELIEF SUPPLEMENTAL BRIEF

 21         Hillair hereby submits the following evidentiary objections to Exhibits 3, 7, 8, and 14 to

 22 the Appendix, filed in support of Amazon’s Stay Relief Supplemental Brief. [Dkt. No. 605.]

 23                       Evidence                                           Objection
      Exhibits 3, 7, 8, and 14                          Inadmissible Hearsay (Fed. R. Evid. 801, 802,
 24                                                     803). Exhibits 3, 7, 8, and 14 are deposition
                                                        transcripts from the depositions of current
 25                                                     Amazon employees. To the extent these
                                                        Exhibits are offered into evidence for the truth
 26                                                     of their contents, it constitutes inadmissible
                                                        hearsay because they are out-of-court
 27                                                     statements.
 28
                                                     -9-                  Case No. 2:19-bk-14989-WB
                                           HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB        Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                Desc
                             Main Document    Page 11 of 13



  1                                            CONCLUSION
  2          Based on the foregoing, Hillair respectfully requests that this Court schedule an evidentiary

  3 hearing on the Stay Relief Motion in the event that it does not deny such Motion on or after the

  4 March 16, 2020 hearing, and that it sustain all of Hillair’s Evidentiary Objections.

  5

  6 DATED: March 9, 2020                         QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
  7

  8

  9                                                By
                                                     John B. Quinn
 10                                                  Crystal Nix-Hines
                                                     Eric D. Winston
 11                                                  Jennifer L. Nassiri
 12
                                                      Attorneys for Secured Creditor Hillair Capital
 13                                                   Management, LLC

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                    -10-                  Case No. 2:19-bk-14989-WB
                                           HILLAIR CAPITAL MANAGEMENT’S EVIDENTIARY OBJECTIONS
Case 2:19-bk-14989-WB        Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08               Desc
                             Main Document    Page 12 of 13



  1                                        PROOF OF SERVICE
  2         I am employed in the County of Los Angeles, State of California. I am over the age of
    eighteen years and not a party to the within action; my business address is 865 South Figueroa
  3 Street, 10th Floor, Los Angeles, California 90017-2543.

  4          On March 9, 2020, I served true copies of the following document(s) described as:

  5 HILLAIR CAPITAL MANAGEMENT’S (I) REQUEST TO SCHEDULE EVIDENTIARY
    HEARING AND (II) EVIDENTIARY OBJECTIONS TO DECLARATIONS IN SUPPORT
  6 OF AMAZON’S MOTION FOR AN ORDER: (A) DETERMINING THAT THE
    AUTOMATIC STAY DOES NOT REQUIRE AMAZON TO UTILIZE DEBTORS’
  7 SERVICES, AND (B) MODIFYING THE AUTOMATIC STAY

  8 on the parties in this action as follows:

  9   Ashley M. McDow                                   Richard W. Esterkin
      John A. Simon                                     MORGAN, LEWIS & BOCKIUS
 10   Shane J. Moses                                    300 S. Grand Ave., Floor 22
      FOLEY & LARDNER LLP                               Los Angeles, CA 90071-3132
 11   555 S. Flower St. 33rd Floor                      Tel. no. 213-612-2500
      Los Angeles, CA 90071                             richard.esterkin@morganlewis.com
 12   Tel. no. 213-972-4500
      amcdow@foley.com
 13   jsimon@foley.com
      smoses@foley.com
 14
      John-Patrick M. Fritz                             Dare Law
 15   David L. Neale                                    OFFICE OF THE UNITED STATES
      LEVENE, NEALE, BENDER, YOO &                      TRUSTEE
 16   BRILL LLP                                         915 Wilshire Blvd., Suite 1850
      10250 Constellation Blvd., Suite 1700             Los Angeles, CA 90017
 17   Los Angeles, CA 90067                             Tel. no. 213-894-4219
      Tel. no. 310-229-1234                             alvin.mar@usdoj.gov
 18   jpf@lnbyb.com
      dln@lnbyb.com
 19
      A. Klair Fitzpatrick                              Britney J. Nelson
 20   MORGAN LEWIS & BOCKIUS                            FOLEY & LARDNER LLP
      1701 Market Street                                Washington Harbour
 21   Philadelophia, PA 19103                           3000 K Street, N.W., Suite 600
      Tel. no. 215-963-5001                             Washington, D.C. 20007
 22   klair.fitzpatrick@morganlewis.com                 bnelson@foley.com

 23
             BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on an agreement of the
 24 parties to accept service by e-mail or electronic transmission, I caused the document(s) to be sent
    from the e-mail address jennifernassiri@quinnemanuel.com to persons at the e-mail addresses
 25 listed in the Service List. I did not receive, within a reasonable time after the transmission, any
    electronic message or other indication that the transmission was unsuccessful.
 26

 27

 28

                                                                                 Case No. 2:19-bk-14989-WB
                                                                                       PROOF OF SERVICE
Case 2:19-bk-14989-WB         Doc 672 Filed 03/09/20 Entered 03/09/20 18:18:08                Desc
                              Main Document    Page 13 of 13



  1          I declare under penalty of perjury under the laws of the State of California that the
      foregoing is true and correct.
  2
             Executed on March 9, 2020, at Los Angeles, California.
  3

  4
                                                        /s/ Jennifer Nassiri
  5
                                                        Jennifer Nassiri
  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                                                   Case No. 2:19-bk-14989-WB
                                                                                         PROOF OF SERVICE
